 IN THE UNITED STATES DISTRICT COURT FOR THE MIDLE DISTRICT OF
                          ALABAMA NORTHERN DIVISION RECEIVED
                                                                       ZI1 SEP 18 P : 43

MATT HORNE                                                             PEPRA P. HACETT,cLjc
                                                                        L!Li CT Fi Cii    T
Plaintiff,                                                              UDDLE DIS uiiCT ALA

V.

JOHN CARROLL,
                                                                                '   C 56'/ 11fl
Defendant.                                         CIVIL ACTION NO.
                                                                    _-D
                                                          .,   II



                DEFENDANT'S AMENDED NOTICE OF REMOVAL

COMES NOW THE DEFENDANT in the above -styled cause and responds to the
court's request for a amended notice of removal.


In the order dated 29 August 2017, the Court states" Carroll alleges that the is a citizen
of Colorado". See attached copy of current valid drivers license. (See Exhibit A)
I am a citizen of that state, work occasionally in that state, am registered to vote in that
state and conduct banking in that state.
I further remind the Court that the Plaintiff has sought to harm and endanger the life of
the Defendant by revealing his identify as a undercover officer to a community when
active narcotics investigations and the rape of a young woman by an associate of his were
underway. I request the Court prevent the Plaintiff from having any access whatsoever to
knowledge of any government identity cards issued to the Defendant (there is a pending
restraining order request before the court in Carroll v Home No.).
The Defendant has twice had narcotics planted on him which can be Verified and is
documented by the Henry County Sheriff's office and his mother has received death
threats which can be verified by the Dothan Police Department. It is my belief this is
linked to the Plaintiff and his attempt to suppress the information shared by Ms McCrae
and former Louisville Police Chief Ronnie Benefield about his criminal actions.
The Defendant believes he and the above individuals are at risk by those involved in
criminal activities linked directly to Matt Horne.


If 1 understand the notice 1 received the Court instructs me that 1 bear the burden of
establishing citizenship.
Beyond providing you with a copy of my valid drivers license 1 am unsure how to do that
otherwise other than state to you my "home" consist of a 1986 vehicle with 196,000
miles on it that has a sleeping bag and small propane stove in the back. 1 sleep and camp
where the state law allows and do my best not to disturb fellow citizens. Further it is for
this reason 1 have provided the court with the address of family members that can send
me or photograph and text me what documents you deliver. If that is not the address 1
                     and
should have provided     1 should have put "homeless" or otherwise please 'instruct me
as to how to do that.
1 pray the court does not discriminate against me based on my current economic, medical
or living situation.


If the court, for whatever reason refuses to accept this as evidence of my citizenship 1
would propose the court contact local law enforcement of whatever county 1 am in at the
time can verify where 1 am physically and in addition that 1 work for a company that is
based 'in San Juan County Colorado on a seasonal basis as my health allows. This has
been the case for a period of more than 12 months.


In the document forwarded to me the Court refers that the Plaintiff is using a different
spelling ofrny narne a d if 1 understand the document correctly is going to : side with
Horne in the spelling of my name. 1 remind the Court 1 have never met the maii who
represents himself to be Matt Horne and that has initiated this civil action. 1 do not know
why 1 should have to use his spelling of my name in your Court. 1 have never even had a
telephone conversation nor any previous contact with Mr Horne and am not going to
concede to him determining how my name is spelled or not. 1 shall use my legal name on
my drivers license and birth certificate in all documents 1 file with this court as 1 believe
that is legal and proper.


1 am not an attorney and 1 remind the court that not one attorney nor the ACLU or any
organization, including this Court's clerk when asked, has been will.ing to give me any
legal advice to try to understand how 1 am to respond, the process or what is necessary to
40 when reading the document that was sent to my family member's home in Alabama
and then sent to me electronically. All refuse to get involved in a legal action where a
judge is sumg people.


Thus if pray tell 1 am misunderstanding how to respond 1 ask the court to consider it is
out of ignorance to the process and lack of access to any facility or individual that explain
to me what it is 1 am to do and request this be made plain to me in a maner 1 can
understand in order to exercise good faith before the Court.


The Court states that "the extent that McCrae has been properly joined and served, must
consent Orjom m the removal".
Presumably the burden rest upon me but it is unclear as to how 1 am to do that. 1 do not
know how to prove a negative.
What 1 know is that a judge or clerk has access to a computer system 1 am told and can
verify that Ms McCrae, nor others have been properly served. 1 do not have such access
nor can 1 afford access to the system called "alacourt". 1 can state to the Court that 1 made
a telephone call to the Barbour County Circuit Clerk whereupon 1 spoke to Ms. Tina.
Wade who is acting in the capacity of Circuit Clerk David Nix and she inform .d me that
"1 was the only defendant served".
Nothing in writing would be provided to me after 1 requested this and 1 was told any
officer of the court can verify this if they need to know it.
1 further contacted the attorney for Ms McCrae ( Kristy Kirkland - Birmingham) and Ms.
McCrae herself and both stated that no attempt to serve Ms McCrae has taken place.
1 do not know how to prove something that has not happened and request specific
guidance from the court on how one is to do such.


1 do know that from the one law book 1 was given access to from a public library it
appears to me that unless the defendant has been properly joined and served that 1 cannot
get her consent to remove the action. This not being necessary unless she has been
served and joined in the first place.


But 1 am not a lawyer nor am 1 a citizen who can obtain any advice to explain to me the
meaning of these words beyond what 1 can mterpret them to mean.
If 1 have misunderstood their meaning, 1 ask the Court consider this and forgive me for
wasting their time and understanding in such matters.
It is simply my understanding that Ms McCrae cannot consent to remove a case where
she has not been served or properly joined and that the Court has access to these records
and 1 do not.


The Court further discusses that 1 have not provided evidence that the damages will
exceed $ 75,000.
1 have no understanding of exactly what is being described in this. 1 have done nothing
wrong nor broken any law that 1 am aware of and only have $ 100 to my name at present.
Anything more than that amount would be life threatening to me in terms of food and
medicine. 1 am unable to respond in person to this as 1 lack the means to travel cross
country.
As best 1 understand the following text, 28 U.SS.C. § 1332 subjects of a foreign state who
are lawfully admitted for permanent residence in the United States and are domiciled in
the same State can have civil action removed to a district court. 1 am a subject of a
foreign state ( See Exhibit B copy of my British passport). And further 1 am not
domiciled in the state of Alabama, but Colorado ( See Exhibit A, Colorado drivers
license).


                                         Conclusion
1 hope the Court will consider 1 am doing the best 1 can to respond in timely fashion and
have requested that 1 be able to file responses electronically per a previous motion. If 1
am forced to send documents understand that although those may seem like small sums
of money to a judge or attorney to me they translate into cans of soup and forces me to
restrict the number of meals 1 have access to and medicine 1 require to survive. Public
libraries have free internet service and 1 can often access these and file documents 1 am
told of the Court will approve.
If denied this 1 ask the Court to clearly understand that the cost of sending legal
documents via certified mail amount to nearly $ 5 dollars in expense. This 1 remind the
Court equals two meals for me and 1 am forced to do with out these meals in order to
respond appropriately to a malicious prosecution by a sitting judge.


1 do know the court should handle constitutional issues because this is what the web site
and my one law book tells me.
This case beyond being a malicious prosecution, is one that seeks to destroy the right of
free speech.
Whether Judge Matt Horne likes it or not this woman ( Santana McCrae) had a
constitutional right to speak and address to the public what she experienced in his court.
She has told the FBI the same thing she told me on camera and maintains her story to this
day. The idea that he can sue her and me for exercising this act of free speech and
demand ajury trial on a federal issue in his county court is a denial of the basic rights this
country as best 1 understand is built upon.


It is my hope that this court carefully consider what it means for a rich and powerful
judge to maliciously pursue legal action against the poor and disadvantaged in our society
and deny the basic rights we are given for political self preservation.


1 may indeed reside in a automobile and sleep next to campfire at night and be reduced to
one meal per day. But 1 am still a tiAmerican citizen and feel that the constitution should
apply to me as equally as it applies to any other man. 1 pray the court considers this in
not allowing this case to held in a court the judge controls but this issue be addressed in
federal court where it belongs.


It is my belief that per the previous case of New York Times Co. v. Sullivan, 376 U.S.
254 (1964) the circumstances in this case are the same. allowed free reporting of the civil
rights campaigns in the southern United States. It is one of the key decisions supporting
the freedom of the press in our country and one 1 relied upon. The actual malice standard
requires that the plaintiff in a defamation or libel case, if he is a public figure, prove that
the publisher of the statement in question knew that the statement was false or acted in
reckless disregard of its truth or falsity. That case protected journalists and citizens from
those in Alabama seeking to suppress truth by using local courts under their political
control for decades.
For this reason alone this civil action should have been brought in federal court, if at all.
If it it is not removed then the result is the exact opposite of the intent of the decision of
New York Times Co. v. Sullivan, and a local court in Barbour County Alabama will be
deciding what parts of the Constitution apply to the poorest citizens of a different state
and what do not with no recourse for its citizens.
This seems grossly unfair and not at all in agreement with what our founding fathers
intended in the Constitution when they sought to protect defendants from possible
discrimination in a state other than their own.


However the most powerful argument the Court must consider is shall it allow a county
court in the state where this judge resides to decide the outcome of two of society's
poorest person on a critical first amendment question ( Santana McCrae (if ever served)
makes $640 per month, Carroll often less).
This first amendment issues additionally hinges on a question of federal law that if kept
out of a federal court the judge could mampulate the forum to delete the federal Jaw
claims made against him by members of law enforcement. 1 respectfully urge the Court to
consider this before making a decision.


In this case it must be remembered that the Plaintiff has absolute immunity as a judge and
is wealthy and well versed in the law. The Defendant(s) have no access to such resources.
The question must be asked does the federal court not have the interest ofjustice to
consider above all cisc?
Respectfully Submitted this 15th day of August, 2017


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JO}LL,Dfendat pro se
1955 County Road 67
Clayton, Alabama 36016
(Note this is a family member's address as 1 do not have a home)




                             CERTIFICATE OF SERVICE

1 hereby certify that 1 have mailed by United States Postal Service the document to the
Matt Home, P0 Box 226, Clayton Al. 36016.
